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10    Attorneys for the United States
11                             UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13                                      WESTERN DIVISION
14
     UNITED STATES OF AMERICA,                  No. __________________________
                                                         2:21-mc-00043
15
                 Petitioner,                    UNITED STATES’ NOTICE OF
16                                              APPLICATION AND APPLICATION
                       v.
17                                              FOR ORDER TO COMPLY WITH
   SPACE EXPLORATION                            ADMINISTRATIVE SUBPOENA
18 TECHNOLOGIES CORP., d/b/a

19 SPACEX,                                      [To Be Assigned]
                                                United States District Judge
20               Respondent.

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 1    NOTICE OF APPLICATION AND APPLICATION TO ENFORCE SUBOENA
 2          PLEASE TAKE NOTICE that Petitioner United States of America will, and
 3    hereby does, move this Court for an order requiring Respondent Space Exploration
 4    Technologies Corp., d/b/a SpaceX (“SpaceX”) to comply with Investigatory Subpoena
 5    Number 2021S00001 (“Subpoena”). The United States requests that the assigned
 6    district judge schedule a hearing to occur on or after February 25, 2021.
 7          Petitioner respectfully applies to this Court to order SpaceX to comply with the
 8    Subpoena because the Subpoena is enforceable and not overbroad or unduly
 9    burdensome.
10          This Application is based on the Notice, Memorandum in Support attached
11    hereto, and Declaration of Lisa R. Sandoval and the attached exhibits in support.
12          Under Local Rules 7-3 and 16-12(g) the parties need not meet and confer prior
13    to the filing of this Application.
14     Dated: January 28, 2021                   Respectfully submitted,
15                                               JENNIFER A. DEINES
                                                 Acting Deputy Special Counsel
16                                               C. SEBASTIAN ALOOT
                                                 Special Litigation Counsel
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18
                                                   /s/ Lisa R. Sandoval
19                                               LISA R. SANDOVAL
                                                 SEJAL P. JHAVERI
20                                               Trial Attorneys
                                                 Attorneys for the United States
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 1       APPLICATION FOR ORDER TO COMPLY WITH ADMINISTRATIVE
                              SUBPOENA
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 3          Petitioner, United States of America, hereby petitions for an order requiring
 4    Space Exploration Technologies Corp., d/b/a SpaceX (“SpaceX”) to comply with
 5    Investigatory Subpoena Number 2021S00001 (“Subpoena”), served on October 12,
 6    2020. In support of this Application, the United States respectfully submits the
 7    accompanying Memorandum in Support and Declaration of Lisa R. Sandoval and
 8    avers the following:
 9       1. This Application is made in accordance with 8 U.S.C. § 1324b(f)(2) and 28
10          C.F.R. § 68.25(e).
11       2. The Court has subject matter jurisdiction over this summary enforcement
12          proceeding pursuant to 8 U.S.C. § 1324b(f)(2) and 28 U.S.C. §§ 1331 and 1345.
13       3. This judicial district is a proper venue under 28 U.S.C. § 1391(b)(1) and (b)(2)
14          because SpaceX is located in this district, and because a substantial part of the
15          events and omissions giving rise to this enforcement proceeding occurred in this
16          district.
17       4. The Immigrant and Employee Rights Section (“IER”), Civil Rights Division,
18          U.S. Department of Justice, enforces the anti-discrimination provision of the
19          Immigration and Nationality Act (“INA”), which prohibits employment
20          discrimination on the basis of citizenship and national origin. See 8 U.S.C.
21          § 1324b.
22       5. Defendant is SpaceX, headquartered at 1 Rocket Road, Hawthorne, CA 90250.
23          Upon information and belief, at all relevant times SpaceX maintained an office
24          and transacted business in this judicial district.
25       6. On May 29, 2020, IER opened an investigation of SpaceX to determine whether
26          it had engaged in an individual violation or pattern or practice of (1) citizenship
27          status discrimination in hiring, firing, or recruitment or referral for a fee in
28          violation of 8 U.S.C. §§ 1324b(a)(1), and/or (2) requesting more or different

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 1            documents than are required to establish employment eligibility, or rejecting
 2            documents that reasonably appear genuine (commonly called “unfair
 3            documentary practices”) based on citizenship status or national origin, in
 4            violation of 8 U.S.C. § 1324b(a)(6).
 5       7. On October 7, 2020, IER obtained the Subpoena from Administrative Law
 6            Judge Jean King of the United States Department of Justice, Executive Office
 7            for Immigration Review, Office of the Chief Administrative Hearing Officer
 8            (“OCAHO”), requiring SpaceX to produce to IER the documents described in
 9            Attachment A to the Subpoena by 3:00 p.m. EDT on October 22, 2020. IER
10            served the Subpoena on SpaceX via FedEx on October 9, 2020, and SpaceX
11            received the Subpoena on October 12, 2020.
12       8. On October 26, 2020, SpaceX filed a Petition to Modify or Revoke OCAHO
13            Subpoena Duces Tecum pursuant to 28 C.F.R. § 65.25(e).
14       9. IER opposed the Petition to Modify or Revoke the Subpoena Duces Tecum on
15            November 1, 2020.
16       10. On December 1, 2020, OCAHO issued an order denying SpaceX’s Petition to
17            Modify or Revoke the Subpoena, requiring that SpaceX comply with the
18            Subpoena within 14 days from the date of the Order, and authorizing IER to
19            pursue enforcement of the Subpoena with the appropriate United States district
20            court, if SpaceX failed to comply.
21       11. To date, SpaceX has refused to comply with the Subpoena.
22       12. The Declaration of Lisa R. Sandoval and the attached exhibits provide additional
23            factual support for this Application. The exhibits are incorporated by reference
24            into this Application.
25            WHEREFORE, the United States respectfully petitions this Court to:
26       1. Issue an Order directing SpaceX to comply with the Subpoena within 14 days of
27            the Court’s Order; and
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 1       2. Grant such other relief, including appropriate costs, as this Court deems
 2          necessary and appropriate.
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 4                                                 Respectfully submitted,
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      Dated:   January 28, 2021
 7                                                 JENNIFER A. DEINES
 8                                                 Acting Deputy Special Counsel

 9                                                 C. SEBASTIAN ALOOT
10                                                 Special Litigation Counsel

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                                                   ___/s/ Lisa R. Sandoval_____
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                                                   LISA R. SANDOVAL
13                                                 SEJAL P. JHAVERI
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                                                   Trial Attorneys
                                                   U.S. Department of Justice
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                                                   Civil Rights Division
16                                                 Immigrant and Employee Rights Section
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                                                   Attorneys for the United States of America
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